
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________

        No. 97-1949

                           CECILE E. VICKERS, INDIVIDUALLY
                               AND AS EXECUTRIX OF THE
                          ESTATE OF CHARLES E. VICKERS, JR.,

                                 Plaintiff, Appellee,

                                          v.

                        BOSTON MUTUAL LIFE INSURANCE COMPANY,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Zachary R. Karol, U.S. Magistrate Judge]
                                            _____________________
                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________
                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________


            Ralph C. Copeland  with whom Copeland &amp;  Hession was on brief  for
            _________________            ___________________
        appellant.
            John A.  Mavricos with  whom Christopher, Hays, Wojcik  &amp; Mavricos
            _________________            _____________________________________
        was on brief for appellee.

                                 ____________________

                                   February 2, 1998
                                 ____________________




















                      ALDRICH, Senior Circuit Judge.  In   August,  1992,
                               ____________________

            Charles E. Vickers, Jr., (Vickers), an employee insured under

            an ERISA,  29 U.S.C.    1001 et seq.,  group policy covering,

            within limits,  accidental death,  was fatally  injured in  a

            one-car automobile  crash in  Arizona.   Plaintiff  executrix

            sued in the United States  District Court for the District of

            Massachusetts  and   was  awarded   the  death   benefit  and

            attorney's fees  on a motion for summary judgment.  Defendant

            Boston Mutual Life Insurance Company  (Company), claiming the

            death was not covered by the policy, appeals.  We affirm.

                                      The Facts
                                      _________

                      Vickers, a 55 year old male, was driving alone when

            his car went off the road on a curve, vaulted over a 15  foot

            drop, and struck a tree with  great force.  He died within  a

            half hour.  The Arizona Medical Examiner performed an autopsy

            the following day and listed a number of diagnoses, including

            "coronary  arteriosclerosis,  occlusive,  severe,"  and  much

            physical trauma.  He gave as the "Cause of Death:"

                      Multiple blunt  force traumatic  injuries
                      secondary  to   motor  vehicle   accident
                      precipitated     by    acute     coronary
                      insufficiency.

            For  "Manner  of  Death,"  choosing  between  "Natural"   and

            "Accident,"  he  chose  "Accident."    Whether  this  was  an

            accident within the  policy terms, however, depends  upon the

            policy terms.   The undisputed  facts are that the  crash was

            caused by Vicker's  heart attack, but the  sole physiological


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            cause of  death  was the  physical  injury sustained  in  the

            crash.  The heart attack alone would not have been fatal.

                      We quote from the policy terms.

                                      THE POLICY

                           We agree  to pay  benefits for  loss
                      from bodily injuries:

                           a) caused by an accident . . . ; and

                           b) which, directly and from no other
                      causes, result in a covered loss.

                           We will not pay benefits if the loss
                      was caused by:

                           a)  sickness,  disease,   or  bodily
                      infirmity; or

                           b) any of  the Exclusions listed  on
                      Page (sic) 2-3.

                                       . . . .

                          THIS IS A LIMITED ACCIDENT POLICY
                  WHICH DOES NOT PAY BENEFITS FOR LOSS FROM SICKNESS

                                       . . . .

                                      EXCLUSIONS
                                      __________

                           No benefit will be paid for loss
                      resulting from:

                                       . . . .

                           6.  Sickness, disease or bodily
                      infirmity.

                      The  basic arguments are these:  Plaintiff says the

            policy pays  for "loss,"  viz., death,  from bodily  injuries

            that were caused  by an accident, and the  exclusion does not

            apply because  the heart  attack caused  the accident  rather



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            than the  death.   The  Company  says the  crash  was not  an

            accident, and that  even if it was, the  bodily injuries that

            caused the loss resulted from an accident caused by the heart

            attack,  so that the basic cause of the loss was the diseased

            heart.

                      We  can  easily  dispose  of  the  Company's  first

            argument.     In  its   view,  and  relying   on  Wickman  v.
                                                              _______

            Northwestern  National  Insurance  Co., 908  F.2d  1077  (1st
            ______________________________________

            Cir.), cert. denied, 498 U.S.  1013 (1990), the crash was not
                   ____________

            an  "accident," as  "a reasonable  person  in the  decedent's

            shoes should have foreseen that if one suffers a heart attack

            while driving and becomes unconscious, loss of control of the

            vehicle  is inevitable  and would  likely  result in  serious

            bodily  injury  and  possibly  death."    Perhaps,  but  some

            subjective expectation of  a heart attack would  be required,

            and there was  none here.  The Company's  argument that there

            was no accident is patently frivolous.

                      Otherwise,   to   a   degree,   overlooking   legal

            precedents,  we can understand both parties.  Surely Vickers'

            family thinks of  him as having been killed  in an automobile

            accident.  But the Company says, on plaintiff's theory,  what

            is the  point of the  two policy provisions  denying coverage

            for  and  excluding  loss "caused  by"  and  "resulting from"

            "disease or bodily  infirmity"?  There was no  need for those

            disclaimers   in  an   accident   policy  unless   there  was



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            contemplated  a  disease-connected  accident to  begin  with.

            Manifestly  there would  have been  no accident  and no  loss

            here, were it not for the insured's diseased heart.

                      On reflection,  as a  matter of  pure logic,  quite

            possibly this issue could be answered in the Company's favor.

            But,  if so,  this  raises  another question.    Why did  the

            Company  write a  policy that  called for  the services  of a

            logician  instead of relying  on "plain meanings  . . . which

            comport  with  the  interpretations  given   by  the  average

            person"?  Wickman, 908 F.2d at 1084.  We suggest two reasons.
                      _______

            (1) Inefficiency;  poor, ill-informed, draftsmanship.   (2) A

            well-advised drafter,  persuaded by  the sales-department  to

            simplify and not use intimidating language.1  Neither reflect

            well on the Company.

                                       The Law
                                       _______

                      We held  in  Wickman that  the  terms of  an  ERISA
                                   _______

            policy  are to  be interpreted  under  principles of  federal


                                
            ____________________

            1.  We can  understand that sales  agents might not  like the
            policy wording in Sekel v. Aetna Life Insurance Co., 704 F.2d
                              _____    ________________________
            1335,  1336-37  (5th  Cir.  1983)  (applying  Texas  law  and
            reversing an award to the insured),

                      The insurance  provided under  this Title
                      does not include, and no payment shall be
                      made  for, any  loss  resulting from  any
                      injury caused or contributed to by, or as
                      a consequence  of, any  of the  following
                      excluded risks, even though the proximate
                      or   precipitating  cause   of  loss   is
                      accidental bodily injury:  (a) bodily  or
                      mental infirmity; or (b) disease . . . .

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            substantive law.  908 F.2d at 1084; see also Pilot Life  Ins.
                                                ________ ________________

            Co. v. Dedeaux, 481 U.S. 41, 56 (1987).  In view of the still
            ___    _______

            "formative  stage" of federal law here we apply "common-sense

            canons  of  contract  interpretation"  and  borrow  the "best

            reasoned" concepts  from state law.   908  F.2d at 1084.   If

            this  Massachusetts   insurer's  draftsman   had  looked   to

            Massachusetts law, he should have found the following:

                      In Bohaker v. Travelers Insurance Co., 215 Mass. 32
                         _______    _______________________

            (1913),  the  insured,  delirious  from  typhoid  fever,  was

            temporarily  left  alone in  an  upstairs  bedroom.   He  was

            thereafter found, fatally  injured, on the ground  outside an

            open  window.  The  policy insured against  "bodily injuries,

            effected  directly or  independently  of  all  other  causes,
                      __________________________________________________

            through  external, violent and accidental means."   Id. at 32
                                                                ___

            (emphasis added).  The court said,

                      A  sick  man  may be  the  subject  of an
                      accident,  which  but  for  his  sickness
                      would not  have  befallen him.   One  may
                      meet his  death by falling  into imminent
                      danger  in a  faint or  in  an attack  of
                      epilepsy.  But such an event commonly has
                      been  held to  be the result  of accident
                      rather than of disease.

            Id. at  34.  The  court held  for the  insured.   To look  at
            ___

            common understanding is a fundamental principle.

                      In Vahey v. John Hancock Mutual Life Insurance Co.,
                         _____    ______________________________________

            355 Mass.  421  (1969), the  insured,  while walking  on  the

            street, had a major epileptic seizure, causing him to fall to




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            the pavement, striking his head.  Death came from a fractured

            skull and cranial bleeding.  The policy provided:

                      No  benefit  will  be  payable under  the
                      "Accidental Death  Benefit" provision  if
                      the Insured's death  results, directly or
                                                    ___________
                      indirectly, or wholly or partially, from:
                      __________
                      (1)  any infection  or  bodily or  mental
                      infirmity or  disease existing  before or
                      commencing  after  the  accidental injury
                      . . . .

            Id. at  422 n.1  (emphasis added).   The  court held for  the
            ___

            defendant.  Thus two, more exactly, one little word.

                      Defendant  would have it that "directly and from no

            other causes" is  "not only analogous to 'indirect' (sic) but
                                                     __________

            is  broader and more  extensive."  Our  logician might agree.

            But why  analogies?  Why overlook Bohaker, and neglect Vahey?
                                              _______              _____

            Defendant gains nothing by saying, broadly,

                      [P]roximate  cause . . .  focuses on  the
                      foreseeability between the  event and the
                      injury  caused as  a result of  the event
                      and does not require a direct connection.

                                      . . . . .

                      [T]he nexus between the  heart attack and
                      the  bodily  injuries suffered  from  the
                      crash was immediate  and should be viewed
                      as one entire event even though the heart
                      attack was not the physiological cause of
                      the decedent's death.

            This is no  answer when we are interpreting  the word "cause"

            in a layman's insurance policy.

                                   Attorney's Fees
                                   _______________

                      We have gone to this length, in what would normally

            call  for a short  and routine affirmance,  because defendant


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            appeals from  the court's  awarding prejudgment  interest and

            attorney's  fees.    We  review   this  award  for  abuse  of

            discretion.   See  Cottrill v.  Sparrow,  Johnson &amp;  Ursillo,
                          ___  ________     _____________________________

            Inc.,  100 F.3d  220,  223 (1st  Cir.  1996).   This  being a
            ____

            contract action,  with liquidated  damages, defendant  cannot

            object to  interest:  it  has had the use  of promised money.

            Cf. id.  at 224.   As  to fees, should  defendant have  known
            ___ ___

            there was no merit  in its defense?   See id.  at 225.   Even
                                                  ___ ___

            now, as against the  exhaustive list of opposing  state cases

            cited  in the  diligent magistrate  judge's  opinion, not  to

            mention  the Massachusetts cases, defendant has found no case

            directly in its favor.   We cannot fault the district court's

            award  of  attorney's fees  under  Cottrill  as an  abuse  of
                                               ________

            discretion.

                      The $20,000 fee, which at, say, $200 an hour, comes

            to  100 hours, possibly suggests the standard contingency fee

            figure2 rather  than the  actual time  needfully  spent.   We

            approve it, but  shall add nothing  for the further  briefing

            needed for this court.

                      Affirmed, with double costs.
                      ____________________________









                                
            ____________________

            2.  The death benefit was $50,000.

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